           Case 1:23-cv-10511-WGY Document 185 Filed 09/11/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,

   v.                                                  Civil Action No. 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                     Defendants.




    DECLARATION OF EDWARD W. DUFFY IN SUPPORT OF PLAINTIFFS’
  MOTION IN LIMINE REGARDING PURPORTED OUT-OF-MARKET BENEFITS

I, Edward W. Duffy, pursuant to 28 U.S.C. 1746, hereby declares as follows:

        1.     I am an attorney with the Antitrust Division of the United States Department of

Justice, and counsel of record for the United States in this case. I have personal knowledge of the

matters recited herein, and if called upon to testify, I could and would testify competently

thereto.

        2.     Attached as Exhibit A is a true and correct copy of Defendant JetBlue Airways

Corporation’s Responses and Objections to Plaintiffs’ First Set of Interrogatories. Exhibit A

contains redactions of certain information marked confidential that does not bear on the instant

motion.

        3.     Attached as Exhibit B is a true and correct copy of Defendant Spirit Airlines,

Inc.’s Responses and Objections to Plaintiffs’ First Set of Interrogatories. Exhibit B contains

redactions of certain information marked confidential that does not bear on the instant motion.
        Case 1:23-cv-10511-WGY Document 185 Filed 09/11/23 Page 2 of 2




       4.      Attached as Exhibit C is a true and correct copy of the cited portions of the

Transcript of the Deposition of Ms. Sara Nelson, dated June 20, 2023.

       5.      Attached as Exhibit D is a true and correct copy of the cited portions of the Expert

Report of Dr. Nicholas Hill. Exhibit D is currently filed with redactions subject to the Court’s

Order on the Parties’ Joint Motion to Impound. It also redacts certain information marked highly

confidential that does not bear on the instant motion.

       6.      Attached as Exhibit E is a true and correct copy of the cited portions of the

Second Amended Expert Report of Mr. Richard Scheff. Exhibit E is currently filed under seal

subject to the Court’s Order on the Parties’ Joint Motion to Impound.

       7.      Attached as Exhibit F is a true and correct copy of the cited portions of the

Transcript of the Deposition of Dr. Nicholas Hill, dated September 6, 2023.

       I declare under penalty of perjury the foregoing is true and correct.

       Executed on September 11, 2023 in Annapolis, Maryland.

                                           /s/ Edward W. Duffy
                                           Edward W. Duffy
